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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSUCHUSETTS

__________________________________________
                                          )
In re:                                    )                  Case No. 12-40944 (MSH)
                                          )
SOUTHERN SKY AIR & TOURS, LLC             )                  Chapter 7
D/B/A DIRECT AIR,                         )
                                          )
                  Debtor.                 )
__________________________________________)

              MOTION BY THE UNITED STATES TO APPEAR
    TELEPHONICALLY AT THE HEARING SCHEDULED FOR JANUARY 9, 2014

TO THE HONORABLE COURT:

       Andrea Horowitz Handel, Trial Attorney for the United States Department of Justice,

Civil Division, on behalf of the United States, respectfully states and prays as follows:

       1.      On November 12, 2013, the Trustee of the bankruptcy estate of Southern Sky

Air & Tours, LLC d/b/a Direct Air filed a motion for, among other things, an order approving

proposed interim distribution to charter participant claimants (Docket No. 408).

       2.      The Court has scheduled a hearing on this motion for January 9, 2014 at 2:00 p.m.

(Docket No. 418).

       3.      My office is located in Washington, D.C. and I respectfully request permission to

appear by telephone at the hearing.

       WHEREFORE, Andrea Horowitz Handel respectfully requests that the Court enter an

order allowing her to appear telephonically at the hearing scheduled for January 9, 2014 at 2:00

p.m. and grant such further relief as deemed necessary.
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December 30, 2013                                  Respectfully submitted,

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                                                   Assistant Attorney General

                                                   Christopher R. Donato
                                                   Assistant United States Attorney
                                                   BBO #628907
                                                   John Joseph Moakley Courthouse
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, MA 02210
                                                   Telephone: (617) 748-3303

                                                   /s/Andrea Horowitz Handel
                                                   J. CHRISTOPHER KOHN
                                                   TRACY J. WHITAKER
                                                   ANDREA HOROWITZ HANDEL
                                                   Civil Division
                                                   Department of Justice
                                                   Post Office Box 875
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                                                   Attorneys for the United States



                                     Certificate of Service

       I hereby certify that a copy of the foregoing document has been served by electronic mail

on all parties on the Court’s ECF system this 30th day of December 2013.



                                                   /s/ Andrea Horowitz Handel
                                                   Andrea Horowitz Handel




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